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                               Exhibit 5
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                                                                        Last updated: December 17th 2021

                               ALLOCATION OF KEY RESPONSIBILITIES BETWEEN JOINT-
                                                CONTROLLERS

                  The table below sets out the allocation of key responsibilities between the
                  following joint-controllers:
                        Atlantic Recording Corporation, a Delaware Corporation with its
                        principal place of business at 1633 Broadway New York, New York
                        10019, USA;
                        Warner Music International Services Limited, a company
                        incorporated and registered in England and Wales whose registered
                        office is at 78 Cannon Street, London, England, EC4N 6AF, UK;
                        Warner-Elektra-Atlantic Corporation, a Delaware Corporation with its
                        principal place of business at 1633 Broadway New York, New York
                        10019, USA;
                        Warner Music Inc., a Delaware corporation with its principal place of
                        business at 1633 Broadway New York, New York 10019, USA.
                  The table below outlines how we manage our joint responsibilities to you in
                  the following key areas that support you in exercising control over your data:
                     Action/     Responsible Party
                     Requirement
                                                    Atlantic    Warner        Warner-     Warner
                                                    Recording Music           Elektra-    Music
                                                    Corporation International Atlantic    Inc
                                                                Services      Corporation
                                                                Limited

https://privacy.wmg.com/atlantic/jointcontrollers                                                                                     1/2
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                     Provision of a                 ✔
                     privacy policy
                     Implementing                               ✔
                     data subject
                     rights requests
                     Designated                                 ✔
                     contact point
                     for data
                     subjects
                     Responsibility ✔                           ✔                     ✔                     ✔
                     for
                     demonstrating
                     compliance
                     with the GDPR
                     and record
                     keeping


                  We share and manage a number of other responsibilities with respect to
                  the way we jointly deal with your personal data. These other responsibilities
                  include, for example: how we ensure your data is kept safe and secure; and
                  how we ensure that your data remains protected when we transfer it
                  outside of the EEA and UK. To exercise your rights and to seek further
                  information about our joint controllership, then please contact us at
                  privacypolicy@wmg.com




https://privacy.wmg.com/atlantic/jointcontrollers                                                                                     2/2
